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Richard Alan Arnold, Esquire
William J. Blechman, Esquire
Kevin J. Murray, Esquire
James Almon, Esquire

Ryan C. Zagare, Esquire
Jalaine Garcia, Esquire
KENNY NACHWALTER, P.A.
201 S. Biscayne Boulevard
Suite 1100

Miami, Florida 33131

Tel: (305) 373-1000

Fax: (305) 372-1861

E-mail: rarnold@knpa.com
wblechman@knpa.com

kmurray@knpa.com
jalmon@knpa.com

rzagare@knpa.com

jgarcia(@knpa.com

Counsel for Plaintiff Sears Roebuck and Co.
and Kmart Corp.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

; No. 07-cv-5944-SC
IN RE CATHODE RAY TUBE (CRT) : MDL No. 1917
ANTITRUST LITIGATION :

Judge: Hon. Samuel Conti

Special Master: Hon. Charles A. Legge (Ret.)
This Document Relates to:
: (Proposed)
ALL CASES i ORDER GRANTING APPLICATION FOR
; ADMISSION OF ATTORNEY PRO HAC VICE

Kevin J. Murray, an active member in good standing of the bar of the State of Florida, whose
business address and telephone number is Kenny Nachwalter, P.A., 201 S. Biscayne Boulevard, Suite
1100, Miami, Florida 33131; Tel: (305) 373-1000, having applied in the above-entitled action for
admission to practice in the Northern District of California on a pro hac vice basis, representing Sears

Roebuck and Co. and Kmart Corp.

(Proposed)
ORDER GRANTING APPLICATION FOR CASE NO: 07-5944-SC
ADMISSION ATTORNEY PRO HAC VICE ] MDL No. 1917

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IT IS HEREBY ORDERED THAT the application is granted, subject to the terms and conditions
of Civil L.R. 11-3. All papers filed by the attorney must indicate appearance pro hac vice. Service of
papers upon and communication with co-counsel designated in the application will constitute notice to the
party. All future filings in this action are subject to the requirements contained in General Order No. 45,

Electronic Case Filing.

Dated:
The Honorable Samuel Conti
44844] ,]
(Proposed)
ORDER GRANTING APPLICATION FOR CASE No: 07-5944-SC

ADMISSION ATTORNEY PRO Hac VICE 2 MDL No. 1917

